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3
                               UNITED STATES DISTRICT COURT
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                         SOUTHERN DISTRICT OF CALIFORNIA
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7    UNITED STATES OF AMERICA,                    Magistrate Case No.: '22 MJ2288
8
                  Plaintiff,                      COMPLAINT FOR VIOLATION OF:
9
           v.                                     Title 18, U.S.C. § 1201(a) and (g) –
10
                                                  Kidnapping
11   RAMSEY MANUEL CERVANTES,
12
                  Defendant.
13
14         The undersigned Complainant, being duly sworn, states:
15         From on or about June 15 through on or about June 23, 2022, within the Southern
16   District of California and elsewhere, defendant RAMSEY MANUEL CERVANTES,
17   did unlawfully seize, confine, inveigle, decoy, kidnap, abduct, and carry away, a person
18   hereinafter known as minor victim or MV, and willfully transported her in interstate
19   commerce from Oklahoma to California, and he himself traveled in interstate
20   commerce, and he used a means, facility and instrumentality of interstate commerce in
21   committing and in furtherance of the commission of the offense, and at the time, MV
22   was a minor under the age of 18; in violation of Title 18, United States Code, Section
23   1201(a) and (g).
24         And the complainant states that this complaint is based on the attached Statement
25   of Facts incorporated herein by reference.
26
27                                         ___________________________
                                           Daniel P. Evans, Special Agent
28                                         Federal Bureau of Investigations
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1          Attested to by the applicant in accordance with the requirements of Fed. R. Crim.
2    P. 4.1 by telephone on this 23rd day of June, 2022.
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                                          HONORABLE BERNARD G. SKOMAL
5                                         United States Magistrate Judge
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 1                                    STATEMENT OF FACTS
 2          I am a Special Agent (SA) with the Federal Bureau of Investigation (FBI), and
 3   have been so employed since April of 2005. I am currently assigned to the Human
 4   Trafficking Squad of the San Diego Field Office, where I primarily investigate crimes
 5   involving child exploitation and the receipt, possession, production, advertisement, and
 6   transmission of child pornography. This complaint is based on my own investigation
 7   as well as information received from fellow FBI agents and other law enforcement
 8   officers.
 9         On or about June 15, 2022, a 16-year-old, hereinafter referred to as minor victim
10 or MV, was reported as a runaway juvenile by her father to the local police department
11 in Oklahoma.
12         Based on information reported to law enforcement and was learned through the
13 course of the investigation, MV met RAMSEY CERVANTES, who was born in 2000,
14 on a social media application, several months ago. MV believed CERVANTES was 17
15 years old, and they eventually met when CERVANTES drove to Oklahoma to meet MV
16 in person. CERVANTES visited her approximately four times over the following six
17 months, and they had consensual and non-consensual sex on approximately thirty
18 occasions in various motels. MV eventually broke up with CERVANTES after he
19 became repeatedly physically and sexually abusive. They were separated for two
20 months. About a week ago, they reconnected and started talking again, including using
21 social media applications to exchange messages.
22         On June 15, 2022, CERVANTES drove to Oklahoma to talk to MV in person to
23 discuss their relationship. They planned for him to pick her up at her residence in
24 Oklahoma. When MV got in CERVANTES’ vehicle, he told her she was coming with
25 him back to San Diego, California. When she tried to leave the vehicle, CERVANTES
26 put a knife to her side and told her he would kill her if she tried to leave. CERVANTES
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 1 used duct tape to restrain MV and transported her from Oklahoma to California, where
 2 he kept her in his residence in San Diego, California. While traveling from Oklahoma
 3 to California, CERVANTES sexually assaulted MV approximately ten to fifteen times
 4 along the way at various rest stops in the back seat of his vehicle. MV reported that
 5 CERVANTES repeatedly forced her to consume vodka while en route back to San
 6 Diego. She stated that he kept her in a constant state of heavy intoxication.
 7        MV reported that they arrived in San Diego on June 19, 2022. CERVANTES
 8 then locked MV in his bedroom for four days, only allowing her out when his roommate
 9 was not home. CERVANTES repeatedly sexually assaulted MV during that time.
10 When CERVANTES’ roommate was home, CERVANTES duct taped a baby pacifier
11 into MV’s mouth so she would not scream for help. CERVANTES also duct taped her
12 hands together to prevent her from fleeing. MV observed CERVANTES place the black
13 knife with a silver blade in a desk drawer. CERVANTES turned the music up very loud
14 in his room so his roommate would not know she was in there.
15        While held in CERVANTES’ room at his residence, MV stated CERVANTES
16 used his laptop and forced her to watch child pornography, and gore videos that
17 consisted of individuals skinning dogs. MV also stated CERVANTES created visual
18 depictions of him sexually assaulting her while she was unconscious, and then forced
19 her to watch the visual depictions.
20        On June 22, 2022, due to MV repeatedly vomiting, CERVANTES feared MV
21 was pregnant, so he left the residence to get a Plan B pill for her. CERVANTES
22 accidentally left his cell phone in the residence, which MV used to call her father and
23 law enforcement. Officers responded to CERVANTES’ residence the SUBJECT
24 PREMISES and located MV inside the residence. CERVANTES was located in an area
25 away from the residence and was taken into state custody after MV positively identified
26 CERVANTES.
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 1        The San Diego Police Department Domestic Violence Unit was notified and
 2 detectives responded to the scene. SDPD crime scene lab technicians also responded
 3 and processed the residence. The Federal Bureau of Investigation was called in to assist,
 4 and I, along with several other agents, responded to the residence. Various search
 5 warrants have been obtained and the investigation is ongoing, including a forensic
 6 review of computers, computer media and cellular devices.
 7        Based on the totality of the investigation to date, CERVANTES traveled to
 8 Oklahoma and kidnapped MV, transporting her in interstate commerce from Oklahoma
 9 to California. During the commission of the crime, CERVANTES used his cellular
10 phone which is an instrumentality of interstate commerce. Moreover, at all relevant
11 times to this offense, MV was a minor and CERVANTES was 22 years old and not the
12 parent, grandparent, brother, sister, aunt, uncle or MV or an individual having legal
13 custody of MV.
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